     Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                                                         :
MIA CASTRO, M.D., HEIDI BOULES, M.D,                     :        CIVIL ACTION NO.
ASHLEY ELTORAI, M.D., JODI-ANN                           :        3:20-cv-00330-JBA
OLIVER, M.D., LORI-ANN OLIVER, M.D.,                     :
AND ELIZABETH REINHART, M.D.                             :
                                                         :
                        PLAINTIFFS                       :
                                                         :
v.                                                       :
                                                         :
YALE UNIVERSITY, YALE NEW HAVEN                          :
HOSPITAL, INC., AND MANUEL LOPES                         :
FONTES, M.D.                                             :
                                                         :
                  DEFENDANTS                             :        JULY 23, 2020
___________________________________________

YALE UNIVERSITY’S REPLY TO THE PLAINTIFFS’ OMNIBUS MEMORANDUM
          OF LAW IN OPPOSITION TO MOTION TO DISMISS

         The defendant, Yale University, hereby respectfully replies to the plaintiffs’ Omnibus

Memorandum of Law in Opposition to Motion to Dismiss (“Plaintiffs’ Opposition Brief”). (Doc.

Entry No. 61.)

I.       MOTION TO DISMISS

         a. The Plaintiffs’ Title IX Claims are Preempted by Title VII.

         In a last-ditch effort to save their Title IX claims, the plaintiffs argue that this Court

should entirely ignore the plethora of cases within the Second Circuit that have addressed this

very issue, and instead adopt the Third Circuit’s decision in Doe v. Mercy Catholic Medical

Center. As discussed at length in Yale University’s Memorandum of Law in Support of

Motion to Dismiss, “[a]n overwhelming majority” of District Courts within the Second Circuit

                             DONAHUE, DURHAM & NOONAN, P.C.
                                C ONCEPT P ARK • 741 BOSTON POST ROAD
                                     G UILFORD , C ONNECTICUT 06437
                               TEL: (203) 458-9168 • FAX: (203) 458-4424
                                            JURIS NO. 415438
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 2 of 17




have held that “an implied private right of action does not exist under Title IX for employees

alleging gender discrimination in the terms and conditions of their employment.” (Emphasis

in original) Gayle v. Children’s Aid College Prep Charter School, 2019 U.S. Dist. LEXIS

126997, at *14-17 (S.D.N.Y. July 29, 2019). Likewise, the U.S. District Court for the District

of Connecticut has itself repeatedly held that “there is no private remedy under Title IX for

employment discrimination claims.” See, e.g., Othon v. Wesleyan University, 2020 U.S. Dist.

LEXIS 53580, at *22 (D. Conn. Mar. 27, 2020) (Dooley, J.); Uyar v. Seli, 2017 U.S. Dist.

LEXIS 30853 (D. Conn. Mar. 6, 2017) (Bryant, J.); Urie v. Yale University, 331 F. Supp. 2d

94, 95 (D. Conn. 2004) (Chatigny, J.). The plaintiffs do not even attempt to argue otherwise

or distinguish the cases cited by Yale University. In fact, in a recently-issued decision, Judge

Dooley specifically rejected the Court’s holding in Doe v. Mercy Catholic Medical Center,

and determined that the analysis contained in the cases cited by the plaintiffs, including Lipsett

v. Univ. of Puerto Rico, Preston v. Com. of Va. ex rel. New River Com. Coll., and Ivan v. Kent

State Univ., was “spartan or . . . made in the context of an issue not directly on appeal.” Id.,

at *22, 18 n.8. The caselaw within the Second Circuit on this issue dictates but one conclusion

– the sex-based employment discrimination and retaliation claims asserted by the plaintiffs are

not actionable under Title IX.

       Further, although the plaintiffs have attempted to persuade the Court to believe

otherwise, the Supreme Court “has never addressed, in dicta or otherwise, how Title IX’s

implied private remedy will apply to employment claims or the relationship between Title VII

and Title IX.” Othon, 2020 U.S. Dist. LEXIS 53580, at *24. Moreover, the Department of

Justice (“DOJ”) Publication to which the plaintiffs cite has been removed by the DOJ from its

website and appears to be accessible only on a non-government website called feminist.org. It

                                                2
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 3 of 17




is clearly outdated as it was published in 2001 and Title IX caselaw has significantly changed

since then; the DOJ itself recognized these changes by removing the document from its

website. Even if the publication which the plaintiffs cite were still endorsed by the DOJ, DOJ

publications are considered “non-binding guidance documents.” See, Executive Order 13891.

Thus, even if the DOJ still endorsed that publication, it could not possibly be used by the Court

as support for overturning the established caselaw within the Second Circuit. Accordingly, the

plaintiffs’ Title IX claims must be dismissed.

       b. The Plaintiffs Did Not Sufficiently Plead Claims for Hostile Work Environment
          Under Title VII and Title IX.

              i. The Plaintiffs Must Plead Facts Showing “Severe or Pervasive” Harassment,
                 and Have Failed to Do So.

       Although the plaintiffs argue that, in order to survive a motion to dismiss, they must

allege only that they were faced with harassment which altered the conditions of their

employment (Plaintiffs’ Opposition Brief, p. 16), that is incorrect; they must also plead facts

from which it can be concluded that the harassment was objectively “severe or pervasive.”

The U.S. District Court for the District of Connecticut has unequivocally held that:

               To state a hostile work environment claim, a plaintiff must allege conduct (1)
               that is objectively severe or pervasive - that is, [conduct that] creates an
               environment that a reasonable person would find hostile or abusive [the
               objective requirement], (2) that the plaintiff subjectively perceive[s] as hostile
               or abusive [the subjective requirement], and (3) that creates such an
               environment because of plaintiff’s sex . . . [the prohibited causal factor
               requirement].

Zito v. Federal Express Corp., 2016 U.S. Dist. LEXIS 112613, at *15-16 (D. Conn. Aug. 24,

2016) (Thompson, J.) (dismissing hostile work environment claims because the incidents

alleged by the plaintiff “do not rise to the level of a pervasive or severe hostile work

environment”). See also, Brown v. Coach Stores, 163 F.3d 706, 713 (2d Cir. 1998) (Parker,

                                                 3
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 4 of 17




J.) (on a review de novo, dismissing the plaintiff’s hostile work environment claim on the basis

that she failed to allege “discriminatory behavior that is sufficiently severe or pervasive”). In

Cowan v. City of Mount Vernon, 2017 U.S. Dist. LEXIS 45812 (S.D.N.Y. Mar. 28, 2017)

(Karas, J.), the primary case cited by the plaintiffs in support of their erroneous contention, the

Court likewise held that the plaintiff must allege facts in her complaint from which it can be

concluded that the claimed harassment was “sufficiently severe or pervasive to alter the

conditions of the victim’s employment and create an abusive working environment.” Id., at

*9. Making the conclusory statement that an employer’s conduct is “severe or pervasive” is

simply not enough; the plaintiff must plead specific facts from which that conclusion can be

reasonably drawn. Judge Karas in Cowan dismissed the plaintiff’s hostile work environment

claims because the plaintiff did not plead facts sufficient to permit a conclusion of “severe or

pervasive” harassment.      Id., at *15.    Cowan also makes clear that plaintiffs alleging

employment discrimination claims have an “obligation to submit well-pleaded facts as to

permit the court to infer more than the mere possibility of misconduct” in accordance with the

pleading standards set forth in Bell Atl. Corp. v. Twombly and Ashcroft v. Iqbal. Id., at *6-7,

15. Thus, the caselaw cited by the present plaintiffs demonstrates that, contrary to their

contention, they are not held to “lenient notice pleading standards,” (Plaintiffs’ Opposition

Brief, p. 2), and they must plead specific facts in support of their conclusory allegations of

“severe or pervasive” harassment in order to survive a motion to dismiss.

       As explained in detail in Yale University’s Memorandum of Law, the present plaintiffs

have fallen far short of alleging “severe or pervasive” harassment. (See, Yale University’s

Mem. Of Law, pp. 12-22.)       It is axiomatic that in order to be deemed pervasive, incidents

“must be more than episodic; they must be sufficiently continuous and concerted . . . [A] court

                                                4
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 5 of 17




should look to all the circumstances, including the frequency of the discriminatory conduct, its

severity, whether it is physically threatening or humiliating, or a mere offensive utterance, and

whether it unreasonably interferes with the employee’s work performance.” Gaynor v. Martin,

77 F. Supp. 2d 272, 278 (D. Conn. 1999) (Goettel, J.). “Indeed, a single instance of sexual

harassment is typically insufficient to establish liability under Title IX unless the conduct

consists of extreme sexual assault or rape.” Carabello v. N.Y.C. Dep’t of Educ., 928 F. Supp.

2d 627, 643 (E.D.N.Y. 2013) (Azrack, J.).

       With respect to the plaintiffs’ Title IX claims, the vast majority of the conduct alleged

by each plaintiff falls outside the 300-day statute of limitations and thus cannot be considered

when assessing whether the plaintiffs have met the standard for “severe or pervasive”

harassment. (Yale University’s Mem. Of Law, pp. 12-16.) Dr. Castro has alleged not a single

incident of sexual harassment that falls within the statute of limitations; Dr. Jodi-Ann Oliver

has alleged only one; Dr. Lori-Ann Oliver and Dr. Boules have each alleged two; and Drs.

Eltorai and Reinhart have alleged three and four, respectively. (Id.) Since none of the

inappropriate conduct alleged by Dr. Castro falls within the statute of limitations, her claim

must be dismissed. Likewise, the single actionable incident of sexual misconduct alleged by

Dr. Jodi-Ann Oliver cannot possibly constitute “severe or pervasive” harassment, since “[n]o

reasonable person could have believed that [a] single incident of sexually inappropriate

behavior by a co-worker could amount to sexual harassment.” Chenette v. Kenneth Cole

Productions, 345 F. App’x 615, 619 (2d Cir. 2009) (Winter, J.). See also, Brodsky v. Trumbull

Board of Education, 2009 U.S. Dist. LEXIS 8799, at *6 (D. Conn. Jan. 30, 2009) (Dorsey, J.)

(finding that one incident of a male student touching a female student’s breasts and buttocks,




                                               5
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 6 of 17




and other incidents of name-calling, insults, and physical harassment, were “not sufficiently

pervasive or severe from an objective standpoint”).

       Similarly, Dr. Lori-Ann Oliver and Dr. Boules, who have both alleged only two

incidents of sexual harassment, cannot maintain claims for hostile work environment. District

Courts in this Circuit have frequently held that two separate occurrences of alleged

inappropriate behavior are not sufficient to maintain a claim for hostile work environment.

See, e.g., Soriano ex rel. Garcia v. Bd. of Educ. of City of N.Y., 2004 U.S. Dist. LEXIS 21529,

at *6 (E.D.N.Y. Oct. 27, 2004) (Gleeson, J.) (finding two separate incidents in which two male

students inappropriately touched a female student not sufficiently pervasive under Title IX).

       The harassment alleged by Drs. Eltorai and Reinhart is sporadic at best; Dr. Eltorai has

asserted three actionable incidents of sexual harassment over a three-month period, and Dr.

Reinhart has alleged four incidents in a six-month span of time, including one in 2019 when

Dr. Fontes linked arms with her. Linking arms cannot be considered “objectively offensive,”

and therefore, Dr. Reinhart has effectively also alleged only three incidents of sexual

harassment. Courts in this Circuit have held that four to five incidents of alleged harassment

over a several month period are not sufficient to state a hostile work environment claim, and

therefore neither Dr. Eltorai nor Dr. Reinhart can prevail on their claims. See, Legnani v.

Alitalia Linee Aeree Italiane, 1997 U.S. Dist. LEXIS 16151, at *3 (S.D.N.Y. Oct. 16, 1997)

(Scheindlin, J.) (four to five instances over a two month period did not establish

pervasiveness); Lamar v. Nynex Service Co., 891 F. Sup. 184 (S.D.N.Y. 1995) (Knapp,

J.) (five incidents of a sexual nature over the course of approximately seventeen months were

too sporadic to constitute sexual harassment as a matter of law). Thus, all plaintiffs’ Title IX

claims should be dismissed.

                                               6
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 7 of 17




       For the very same reasons, Drs. Jodi-Ann Oliver and Lori-Ann Oliver’s Title VII claims

must also be dismissed because they have failed to plead “severe or pervasive” harassment

within the applicable statute of limitations. (See, Yale University’s Mem. Of Law, pp. 18-22.)

             ii. The Continuing Violation Doctrine Does Not Apply.

        Contrary to the plaintiffs’ contention, they cannot utilize the continuing violation

doctrine. “The continuing violation exception is recognized in the Second Circuit under

limited circumstances.” Valenti v. Carten Controls, Inc., 1997 U.S. Dist. LEXIS 19722, at

*15-16 (D. Conn. Dec. 3, 1997) (Nevas, J.). “The Second Circuit has held that a continuing

violation may be shown in either of two ways: first, where there is proof of specific ongoing

discriminatory policies or practices, or second, where specific and related instances of

discrimination are permitted by the employer to continue unremedied for so long as to amount

to a discriminatory policy or practice.” Zito, 2016 U.S. Dist. LEXIS 112613, at *11-12. As

to the first type of continuing violation, the doctrine “applies to cases involving specific

discriminatory policies or mechanisms such as discriminatory seniority lists, or discriminatory

employment tests.” Lambert v. Genesee Hosp., 10 F.3d 46, 53 (2d Cir. 1993) (Walker,

J.) overruled on other grounds by Greathouse v. JHS Sec. Inc., 784 F.3d 105 (2d Cir. 2015).

With respect to the latter type, it is undisputed that “[d]iscrete acts of discrimination cannot

constitute a continuing course of conduct. To qualify, the events in question . . . cannot be

‘isolated’ or ‘sporadic’ and must constitute a ‘dogged pattern.’” Sawka v. ADP, Inc., 2015

U.S. Dist. LEXIS 130932, at *31-32 (D. Conn. Sep. 29, 2015) (Bolden, J.). See also, Miner v.

Town of Cheshire, 126 F. Supp. 2d 184, 190 (D. Conn. 2000) (Underhill, J.) (“Discrete

incidents or even similar multiple incidents of discrimination that do not result from

discriminatory policies or mechanisms, however, do not amount to a continuing violation”).

                                               7
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 8 of 17




       The present plaintiffs have failed to allege facts sufficient to trigger the continuing

violation doctrine. First, the plaintiffs have not alleged that Yale University had a specific

gender-discriminatory policy or mechanism in place, and thus the plaintiffs cannot assert the

continuing violation doctrine on that basis. Second, the plaintiffs have not alleged “a dogged

pattern” of discrimination by Dr. Fontes; instead they have each alleged distinct and isolated

instances of claimed misconduct that occurred periodically over the course of several years.

See, Sawka, 2015 U.S. Dist. LEXIS 130932, at *31-32. In fact, none of the incidents alleged

by the plaintiffs even occurred within the same month. Since the plaintiffs have alleged

nothing more than “isolated” and “sporadic” incidents, they cannot utilize the continuing

violation doctrine. See id.; Zito v. Federal Express Corp., 2016 U.S. Dist. LEXIS 112613, at

*15-16 (D. Conn. Aug. 24, 2016) (Thompson, J.) (holding that the continuing violation

exception does not apply because the plaintiff alleged “distinct, completed incidents”).

       Drs. Castro, Boules, Jodi-Ann Oliver and Lori-Ann Oliver cannot assert the continuing

violation doctrine for the additional reason that they have failed to establish a prima facie case

of hostile work environment. District Courts sitting in the Second Circuit have held that in

order for a plaintiff to utilize the continuing violation doctrine, she must first establish a prima

facie case of discrimination.        See, e.g., Alers v. New York City Human Resources

Administration, 2008 U.S. Dist. LEXIS 72949, at *19 (E.D.N.Y. Sep. 24, 2008) (Townes, J.)

(“Since plaintiff is unable to establish a prima facie case of a hostile work environment claim,

she cannot show that defendant committed a continuing violation”); Quarless v. Bronx Leb.

Hosp. Ctr., 75 Fed. Appx. 846, 848 (2d Cir. 2003) (Sotomayor, J.) (holding that the court “need

not reach plaintiff’s arguments that his untimely disparate pay allegations can be salvaged

under the continuing violation doctrine because plaintiff’s evidence failed to establish a prima

                                                 8
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 9 of 17




facie disparate pay claim”); Vargas v. Stanley, 2010 U.S. Dist. LEXIS 107694, at *24

(S.D.N.Y. Sep. 29, 2010) (Daniels, J.) (holding that the plaintiff’s “claims do not qualify for

the continuing violation doctrine” because he failed to allege a prima facie claim). As

discussed in more detail in the following section, since Drs. Castro, Boules, Jodi-Ann Oliver

and Lori-Ann Oliver have failed to plead that Yale University had “actual notice” of any

alleged wrongdoing, they have not presented a prima facie case of hostile work environment

and thus cannot rely on the continuing violation doctrine. (See, Yale University’s Mem. Of

Law, pp. 22-24; infra, pp. 9-10.)

            iii. Drs. Castro, Boules, Lori-Ann Oliver and Jodi-Ann Oliver Have Failed to Plead
                 That Yale University had “Actual Notice” of Any Alleged Wrongdoing.

       By their own admission in the Amended Complaint, Drs. Castro, Boules, Lori-Ann Oliver

and Jodi-Ann Oliver never advised anyone at Yale University of Dr. Fontes’ alleged misconduct,

and thus their hostile work environment claims must be dismissed. (Amended Complaint, at ¶¶

94-109, 117, 171-72, 175, 184-185.) As explained in Yale University’s Memorandum of Law,

Dr. Boules never told a single person that Dr. Fontes had discriminated against her; certainly, the

vague email she sent to Yale New Haven Hospital’s Chief Medical Experience Officer that she

wanted to speak with him about an unidentified topic is not sufficient to put Yale University

on “actual notice” of a discrimination complaint. (Id., at ¶¶ 94-109.) Likewise, Dr. Castro

alleges only that she submitted an “anonymous evaluation” of Dr. Fontes at an unidentified

time. (Id., at ¶ 117.) That anonymous “evaluation” is not sufficient to establish “actual notice”

under Title VII and Title IX. Dr. Lori-Ann Oliver alleges in the Amended Complaint that she

decided not to pursue a complaint against Dr. Fontes, and Dr. Jodi-Ann Oliver alleges that she

did nothing more than casually “mention” Dr. Fontes’ alleged touching of her to the Division



                                                9
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 10 of 17




Chief of Pain Management at Yale University, which surely does not satisfy the “actual notice”

requirement. (Id., at ¶¶ 171-72, 175, 184, 185.) The plaintiffs’ position that Dr. Jodi-Ann

Oliver put Yale University on notice of the alleged sexual harassment when she complained

that Dr. Fontes called her a “malingerer” after she suffered a wrist injury is frivolous on its

face. (Plaintiffs’ Opposition Brief, p. 24.) Such a statement does not relate even tangentially

to her gender. See, e.g., Scott v. City of New York Dept. of Correction, 641 F. Supp. 2d 211,

228 (S.D.N.Y. 2009) (Gorenstein, J) (holding that the defendant was never put on notice of the

alleged sexual harassment because the only complaints made by the plaintiff concerned matters

unrelated to his alleged sexual harassment); Higgins v. Metro-North Railroad, 318 F.3d 422,

427 (2d Cir. 2003) (Walker, J.) (holding that the defendant’s knowledge that an employee had

difficulty controlling his temper was not sufficient to put the defendant on notice that the

employee was prone to sexually harass his co-workers).

       Having apparently recognized that they never notified Yale University of the alleged

harassment, the plaintiffs advance the baseless argument that Yale University was on notice of

Drs. Fontes’ alleged misconduct by virtue of statements made by Drs. X and Y and an

employee of Duke University about Dr. Fontes’ behavior. (Plaintiffs’ Opposition Brief, pp.

22-23.) That, however, is irrelevant; the only relevant inquiry here is whether Yale University

had specific knowledge of Dr. Fontes’ alleged harassment towards Drs. Castro, Boules, Lori-

Ann Oliver and Jodi-Ann Oliver. See, e.g., Raspardo v. Carlone, 770 F.3d 97, 124 (2d Cir.

2014) (Droney, J.) (holding that prior complaints that an employee had made an inappropriate

joke about a female; violated an order prohibiting him from driving alone with female officers;

and inappropriately used the messaging system were insufficient to put his employer on notice

that he would later sexually harass the two female plaintiffs, as his prior behavior did not

                                              10
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 11 of 17




pertain to the plaintiffs at issue). Additionally, the alleged statements by Drs. X and Y and an

employee of Duke University were made in 2015 and 2016, several years before the

misconduct alleged in the present complaint; and those statements could not possibly have put

Yale University on notice of the alleged misconduct directed towards the plaintiffs several

years later. Tellingly, the plaintiffs have failed to cite a single case to support the proposition

that statements made years before the conduct alleged in the complaint are sufficient to

establish “actual notice.”

       Likewise, the plaintiffs cannot plausibly claim that Yale University had “actual notice”

of Dr. Fontes’ purported misconduct because other University employees were allegedly

present when the misconduct occurred. (Plaintiffs’ Opposition Brief, p. 22.) First, the

plaintiffs have not alleged that any of those individuals reported the claimed misconduct to any

supervisor.   Second, there are no allegations which suggest that those individuals are

“official[s] with authority to address the alleged harassment and institute corrective measures,”

as the plaintiffs acknowledge they must be for notice to attach. Wyler v. Connecticut State

Univ. Sys., 100 F. Sup. 3d 182, 189 (D. Conn. 2015) (Chatigny, J.). In some instances, the

plaintiffs did not even identify the witnesses by name, and therefore the Court cannot possibly

determine whether the individuals had authority to address the alleged harassment and institute

corrective measures. (See, e.g., Amended Complaint, ¶¶ 190-195, 197-200.) See also,

Torres v. Pisano, 116 F.3d 625, 637 (2d Cir. 1997) (Calabresi, J.) (“If a co-worker has

knowledge of a harassee’s complaint, but that co-worker lacks authority to counsel, investigate,

suspend, or fire the accused harasser, or to change the conditions of the harassee’s employment,

the co-worker’s inaction does not spark employer liability”). Accordingly, the hostile work




                                                11
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 12 of 17




environment claims asserted by Drs. Castro, Boules, Lori-Ann Oliver and Jodi-Ann Oliver

must be dismissed.

       c. Drs. Castro and Eltorai Have Failed to State a Claim for Retaliation Because
          They Did Not Allege an Adverse Employment Action.

       While Yale University does not dispute that Drs. Castro and Eltorai have each alleged

certain decisions regarding their employment with which they were dissatisfied, none of those

decisions constitutes an adverse employment action which is required to state a claim. It is

axiomatic that “[n]ot everything that makes an employee unhappy is an actionable adverse

action.” Clarke v. City of New York, 2001 U.S. Dist. LEXIS 11136, at *14 (E.D.N.Y. Aug.

1, 2001) (Glasser, J.) There is an abundance of caselaw demonstrating that Dr. Eltorai’s

allegations – that she was counseled by Dr. Fontes and two of his subordinates in connection

with her poor ICU performance in February 2019; transferred out of the ICU in August 2019;

and denied volunteer work shifts in May 2020 – do not constitute adverse employment actions.

(See, Yale University’s Mem. Of Law, pp. 28-31; Amended Complaint, ¶¶ 132, 134, 136, 139-

40, 143-44, 161-64.) The plaintiffs have not even attempted to distinguish any of the caselaw

cited by Yale University, and have failed to point to any dispositive caselaw of their own. The

absence of such caselaw is telling. Moreover, Dr. Eltorai specifically states in her Opposition

Brief that the alleged adverse employment actions “could have far-reaching ramifications [on

her] career and professional growth,” thereby admitting that any damages are entirely

speculative. (Plaintiffs’ Opposition Brief, p. 29.) Thus, they cannot possibly be considered

adverse employment actions. See, e.g., Malone v. N.Y. Pressman’s Union No. 2, 2011 U.S.

Dist. LEXIS 58247, at *7 (S.D.N.Y. May 31, 2011) (Swain, J.) (“The elimination

of speculative, potential future opportunities is insufficient to establish an adverse employment



                                               12
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 13 of 17




action”); Herling v. N.Y.C. Dep’t of Educ., 2014 U.S. Dist. LEXIS 56442, at *7 (E.D.N.Y.

Apr. 23, 2014) (“the theoretical repercussions” claimed by the plaintiff “do not constitute

adverse employment actions”); Woolfolk v. New York City Dept. of Education, 2020 U.S.

Dist. LEXIS 46948, at *18 (S.D.N.Y. Mar. 18, 2020) (Abrams, J.) (“Plaintiff’s allegations

about not receiving certain interview offers for future employment are too speculative to

constitute an adverse employment action”).

       Likewise, Dr. Castro has not provided any controlling authority showing that the two

adverse employment actions she claims – that Dr. Fontes denied her request to go on a mission

trip to Peru unless she used her vacation time, and yelled at her to pick up a syringe cap – fit

that definition. (See, Amended Complaint, at ¶¶ 115-116.) Yale University, on the other hand,

has identified numerous cases to the contrary that are directly on point, which the plaintiffs

have also not even attempted to distinguish. (See, Yale University’s Mem. Of Law, pp. 31-

32.) In addition, Dr. Castro states in her Opposition Brief and Amended Complaint that she

may still get credit for the mission trip to Peru, demonstrating that any harm to her is entirely

speculative. (Opposition Brief, at 31.) See, e.g., Malone, 2011 U.S. Dist. LEXIS 58247, at

*7; Herling, 2014 U.S. Dist. LEXIS 56442, at *7; Woolfolk, 2020 U.S. Dist. LEXIS 46948, at

*18.

       Yet another reason to dismiss Dr. Castro’s complaint is that she has not alleged facts

from which it can be concluded that she had engaged in any protected activity. To the extent

that Dr. Castro claims that refusing Dr. Fontes’ alleged sexual advances constitutes protected

activity, she has failed to show a causal relationship between that protected activity and Dr.

Fontes’ denial of her request to go on the mission trip, which occurred one year after she

allegedly resisted his advances. (See, Amended Complaint, at ¶ 119.) The U.S. Supreme

                                               13
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 14 of 17




Court, as well as District Courts within the Second Circuit, have consistently held that a

plaintiff cannot establish the requisite temporal proximity necessary to prove causation when

the alleged protected activity occurred several months before the alleged adverse employment

action. See, e.g., Clark County School District v. Breeden, 532 U.S. 268, at *273-74 (2001)

(citing with approval cases dismissing retaliation claims where there were three and four month

periods between protected activity and adverse employment action); Cooper v. Morgenthau,

2001 U.S. Dist. LEXIS 10904, at *8 (S.D.N.Y. July 31, 2001) (Pauley, J.) (dismissing

retaliation claim where alleged adverse employment action occurred seven months after

protected activity); Cobian v. New York City, 2000 U.S. Dist. LEXIS 17479, at *16 (S.D.N.Y.

Dec. 6, 2000) (Peck, J.) (dismissing retaliation claim where there was a four month lapse

between protected activity and adverse employment action). Accordingly, neither Dr. Eltorai

nor Dr. Castro have stated a claim for retaliation.

II.    MOTION TO STRIKE

       In their Opposition Brief, the plaintiffs do not dispute Yale University’s position that

the allegations identifying each Yale University employee accused of sexual misconduct by name

are scandalous and inflammatory – that comes as no surprise given the plaintiffs’ argument

that they should not be required to plead the names of various individuals referenced

throughout their Amended Complaint because it “will cause substantial harm to their

reputation, embarrassment, and shaming.” (Opposition Brief, p. 39). Given the absence of an

objection on that point, Yale University’s Motion to Strike should be granted.

       In addition, as explained in detail in Yale University’s Memorandum of Law, the

subject allegations should be stricken because they “serve no purpose except to inflame the

reader.” See, e.g., Impulsive Music v. Pomodoro Grill, Inc., 2008 U.S. Dist. LEXIS 94148, at

                                               14
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 15 of 17




*7 (W.D.N.Y. Nov. 19, 2008) (Telesca, J.). An anonymous survey which queried Yale

University students, not Medical Center employees, as to their perception of sexual assault on the

undergraduate campus is unquestionably irrelevant to the hostile work environment claims

asserted by the plaintiffs, who are all physician employees, not undergraduate students, of either

Yale University or Yale New Haven Hospital. Likewise, the fact that four sexual misconduct

cases were previously brought against Yale University by parties not involved in the subject

action, in which allegations were made against different supervisors in different departments

from the present plaintiffs, is entirely irrelevant; since the plaintiffs have not suggested that

those prior incidents in any way contributed to their perception of the hostility of their work

environment, they have no bearing on the present matter at all. The plaintiffs have also failed

to counter Yale University’s position that evidence of the prior and pending lawsuits and

anonymous survey is inadmissible. Even if it were tangentially relevant – and it is not – that

evidence is inadmissible because it constitutes character evidence under Federal Rule of

Evidence 404(b). See, Fed. R. Evid. 404(b)(1) (“Evidence of a crime, wrong, or other act is

not admissible to prove a person’s character in order to show that on a particular occasion the

person acted in accordance with the character”). That evidence would also be inadmissible

pursuant to Fed. R. Evid. 403 because the prejudicial effect would clearly outweigh any

conceivable tangential probative value. Given that evidence of the prior and pending lawsuits

and the anonymous survey is irrelevant, inadmissible and scandalous – as the plaintiffs seem

to recognize – Paragraphs 38 through 61 should be stricken.

III.   MOTION FOR A MORE DEFINITE STATEMENT

       Although the plaintiffs unhesitatingly and unapologetically identified the names of

several employees of Yale University accused of sexual misconduct, ironically the plaintiffs

                                               15
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 16 of 17




now argue that they should not be required to plead the names of various individuals referenced

throughout the Amended Complaint who are allegedly victims of sexual harassment by Dr.

Fontes or witnesses to the alleged sexual harassment because it “will cause substantial harm to

their reputation, embarrassment, and shaming.” (Plaintiffs’ Opposition Brief, p. 39.) If the

plaintiffs do not identify the individuals referenced in their complaint by name, Yale University

will not be able to adequately investigate or respond to the plaintiffs’ allegations. It is not

sufficient for the plaintiffs to disclose the names through discovery because Yale University’s

answer will be due well in advance of the completion of discovery, which the parties have

agreed will likely be lengthy. Accordingly, the Court should grant Yale University’s Motion

for a More Definite Statement.

IV.    CONCLUSION

       For all of the foregoing reasons, as well as those reasons stated in its initial

Memorandum of Law, Yale University’s Motion to Dismiss, Motion to Strike and Motion for

a More Definite Statement should be granted.



                                                THE DEFENDANT,
                                                YALE UNIVERSITY


                                          By:                  /s/
                                                PATRICK M. NOONAN – CT00189
                                                KRISTIANNA L. SCIARRA – CT30223
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
                                                Fax:        (203) 458-4424
                                                Email: pnoonan@ddnctlaw.com
                                                        ksciarra@ddnctlaw.com

                                                16
 Case 3:20-cv-00330-JBA Document 68 Filed 07/22/20 Page 17 of 17




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                              Patrick M. Noonan




                                                17
